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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: SMITTY’S/CAM2 303 TRACTOR HYDRAULIC FLUID                                       MDL No. 2936
MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY
LITIGATION


                                       TRANSFER ORDER


         Before the Panel: Common defendants Smitty’s Supply, Inc., and CAM2 International,
L.L.C., move under 28 U.S.C. § 1407 to centralize this litigation in the Eastern District of Louisiana
or, alternatively, the Southern District of Texas. This litigation currently consists of eight actions
pending in eight districts, as listed on Schedule A.

        Plaintiffs in all actions oppose centralization. In the event that the actions are centralized
over their objection, they suggest the Western District of Missouri or, alternatively, the District of
Kansas. Defendants Tractor Supply Company and Orscheln Farm and Home, LLC, support
centralization in the Southern District of Texas. Defendant Rural King supports centralization,
taking no position on the appropriate district.

        On the basis of the papers filed and the hearing session held,1 we find that these actions
involve common questions of fact, and that centralization in the District of Kansas will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
These putative class actions share complex factual questions arising from nearly identical allegations
concerning the manufacture, labeling, marketing, and performance of Smitty’s 303 tractor hydraulic
fluid (THF) products, including those made for and sold by CAM2 International.2 Plaintiffs in all
actions allege that defendants (1) deceptively marketed the products as meeting John Deere 303
specifications that allegedly became obsolete in the 1970s when an essential ingredient – sperm
whale oil – was banned from use; (2) misrepresented the products’ anti-wear and protective benefits;
and (3) used inferior ingredients such as used oils and diluted additives that caused damage to
plaintiffs’ equipment. All actions further allege that plaintiffs suffered economic losses from buying
an allegedly worthless product or a product worth less than plaintiffs paid. Centralization will
eliminate duplicative discovery; prevent inconsistent pretrial rulings, especially with respect to class


       1
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by videoconference at its hearing session of May 28, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2936 (J.P.M.L. May 12, 2020), ECF No. 30.
       2
              The products at issue are Super S Supertrac 303 Tractor Hydraulic Fluid; Super S 303
Tractor Hydraulic Fluid; CAM2 ProMax 303 Tractor Hydraulic Oil; and CAM2 303
Tractor Hydraulic Oil.


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certification and Daubert motions; and conserve the resources of the parties, their counsel, and the
judiciary.

         In opposing centralization, plaintiffs principally argue that informal coordination is a
practicable and preferable alternative to centralization. They assert that informal coordination of
discovery across all actions already is in progress; the vast majority of common document discovery
is complete; and coordination is readily practicable because plaintiffs in all actions are represented
by the same counsel, and defendants also are represented by common counsel. They further argue
that centralization likely would delay proceedings in Zornes, in which class certification discovery
is largely complete and a motion for class certification is pending. In response, defendants assert that
informal coordination has been ineffective, describing an increasing number of substantive discovery
disputes, and that discovery in most actions remains at an early stage.

         On balance, we find that centralization is preferable to informal coordination in this
litigation. While we strongly encourage informal coordination, the record before us indicates that
the development of numerous and significant discovery disputes will be a significant obstacle to
efficient coordination in this litigation. For example, defendants assert that several depositions taken
by plaintiffs’ counsel in the District of Kansas Zornes action are duplicative of those taken in a
recently resolved action (Hornbeck) involving the same subject matter and counsel. The parties also
have been involved in a protracted dispute over the deposition of an executive level witness who
likely will be common to all actions. And the litigation will involve significant expert discovery and
Daubert motions, as to which informal coordination likely will be inadequate. Additionally, there
are eight actions pending in eight different states.3 All actions remain in discovery, including
Zornes. Voluntary coordination across these dispersed districts, especially given the complexity of
the factual questions and the number and nature of discovery disputes, appears problematic.

        We conclude that the Western District of Missouri is an appropriate transferee forum. It is
centrally located and easily accessible, making it a convenient forum for this nationwide litigation.
The Honorable Stephen R. Bough, who presides over the Graves action on the motion, is familiar
with the issues in this litigation. He is an experienced jurist with the ability and willingness to
manage this litigation efficiently. We are confident he will steer this matter on a prudent course.




       3
             Although the putative statewide classes are geographically distinct, they involve many
common issues, including overlapping putative class representatives and expert witnesses.


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        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Western District of Missouri are transferred to the Western District of Missouri and, with the
consent of that court, assigned to the Honorable Stephen R. Bough for coordinated or consolidated
pretrial proceedings.




                                         PANEL ON MULTIDISTRICT LITIGATION




                                                         Karen K. Caldwell
                                                             Chair

                                     Ellen Segal Huvelle           R. David Proctor
                                     Catherine D. Perry            Nathaniel M. Gorton
                                     Matthew F. Kennelly           David C. Norton




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IN RE: SMITTY’S/CAM2 303 TRACTOR HYDRAULIC FLUID                        MDL No. 2936
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                                      SCHEDULE A


          Eastern District of Arkansas

    BUFORD v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 1:19-00082

          Eastern District of California

    FOSDICK, ET AL. v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 2:19-01850

          Northern District of Iowa

    BLACKMORE, ET AL. v. SMITTY'S SUPPLY, INC., C.A. No. 5:19-04052

          District of Kansas

    ZORNES, ET AL. v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 2:19-02257

          Western District of Kentucky

    WURTH v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 5:19-00092

          District of Minnesota

    KLINGENBERG v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 0:19-02684

          Western District of Missouri

    GRAVES, ET AL. v. CAM2 INTERNATIONAL LLC, ET AL., C.A. No. 3:19-05089

          Southern District of Texas

    MABIE v. SMITTY'S SUPPLY, INC., ET AL., C.A. No. 4:19-03308




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